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 LAW OFFICES OF MYLES S. BREINER

 MYLES S. BREINER                   4364
 1003 Bishop Street, Suite 2150
 Honolulu, Hawaii 96813
 Tel. No. (808) 526-3426
 Myles@Breinerlaw.net


 REVERE & ASSOCIATES
 A Limited Liability Law Company

 TERRANCE M. REVERE                 5857
 CLARISSE M. KOBASHIGAWA            9314
 Pali Palms Plaza
 970 N. Kalaheo Ave., Suite. A301
 Kailua, Hawaii 96734
 Tel. No. (808) 791-9550
 Facsimile No. (808) 791-9551
 terry@revereandassociates.com
 clarisse@revereandassociates.com

 Attorneys for Plaintiff
 CHRISTINA C. RILEY

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


                       (Caption Continued On Next Page)
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CHRISTINA C. RILEY,                        Civil No. 16-1-00360 DKW-RLP

                       Plaintiff,          PLAINTIFF’S MEMORANDUM
                                           IN OPPOSITION TO
            vs.                            DEFENDANTS STATE OF
                                           HAWAII, DEPARTMENT OF
STATE OF HAWAII,                           PUBLIC SAFETY, ET AL.
DEPARTMENT OF PUBLIC SAFETY,               MOTION FOR JUDGMENT ON
NOLAN ESPINADA, in his Capacity as the     THE PLEADINGS, FILED ON
Director of Public Safety; JAMES           MARCH 15, 2019 [ECF NO. 73];
HIRANO, individually and in his capacity asCERTIFICATE OF SERVICE
Warden of the Maui Community Correctional
Center; JAMES SUGPIYEMAL,                    HEARING : April 5, 2019
individually and in his Capacity as an Adult TIME : 10:30 AM
Corrections Officer.                         JUDGE : Hon. Derrick K. Watson

                  Defendants.
                                           Trial Date: April 15, 2019




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 PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS STATE
       OF HAWAII, DEPARTMENT OF PUBLIC SAFETY, ET AL.
          MOTION TO FOR JUDGMENT ON THE PLEADINGS,
               FILED ON MARCH 15, 2019 [ECF NO. 73]

       Plaintiff CHRISTINA C. RILEY (“Plaintiff”), by and through her

 undersigned attorneys, hereby submits her Memorandum In Opposition to

 Defendants State of Hawaii, Dept. of Public Safety (“DPS”), Nolan Espinda, in his

 official capacity (“Espinda”) and James Hirano, in his official capacity (“Hirano”)

 (collectively the “ State Defendants”) Motion For Judgment on the Pleadings, Filed

 on March 15, 2019 (“MJOP”)/[ECF 73]. The State Defendants seek an order from

 this Court “dismissing all claims asserted against them in Plaintiff’s Complaint

 and/or for entry of judgment in their favor as to all of Plaintiff’s claims,” under the

 defense of sovereign immunity. MJOP at 2.

 I.    BACKGROUND

       Plaintiff Christina Riley was raped and sexually assaulted by Defendant

 James Sugpiyemal, an Adult Correctional Officer (“ACO”) at the Maui

 Community Correctional Center (“MCCC”) and brings claims pursuant to 42

 U.S.C § 1983 for her rape and sexual assault, regarding Defendant State of

 Hawaii’s long-standing policy of using male guards to supervise female prisoners,

 its failure to train, properly hire or supervise those guards, failure to provide

 procedures and premises that insure the safety of its female prisoners, that

 Defendant State of Hawaii had knowledge of.
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          Given her work furlough status, it is undisputed that Plaintiff was

 incarcerated the time of the sexual assaults and rape. Thus, she was in the custody

 and care of MCCC at the time of these events. It is also undisputed that Defendant

 Siugpiyemal was a guard or Adult Correctional Officer (“ACO”) at MCCC during

 the time of these events.

    II.      APPLICABLE STANDARD

             Defendants already fail to state the full rule by which they are bringing the

 subject motion. Leaving out the most critical part, Fed. Rules of Civ. Pro. (“FRCP”)

 12(c) clearly states, “After pleadings are closed – but early enough not to delay

 trial – a party may move for judgment on the pleadings.” Defendants are bringing

 the subject dispositive motion, well past the deadline for filing dispositive motions,

 and most importantly on the eve of trial, set to begin on April 15, approximately two

 weeks away. Defendants did not seek leave from this Court to bring a dispositive

 motion that is well past the deadline.

             When deciding a motion for judgment on the pleadings, “the allegations

 of the non-moving party must be accepted as true, while the allegations of the

 moving party which have been denied are assumed to be false.” (emphasis added)

 See Doleman v. Meiji Mutual Life Ins. Co., 727 F.2d 1480, 1482 (9th Cir. 1984)

 see also Austad v. United States, 386 F.2d 147, 149 (9th Cir. 1967). Furthermore,

 “Judgment on the pleadings is proper when the moving party clearly establishes on


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 the face of the pleadings that no material issue of fact remains to be resolved and

 that it is entitled to judgment as a matter of law.” Doleman, 727 F.2d at 1482. See

 also Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1550 (9th

 Cir. 1989)

              A. Preference For Leave to Amend

       Similar to a motion to dismiss, leave to amend is also proper when deciding

 a motion for judgment on the pleadings. See Wendell v. Johnson & Johnson, No. C

 09-04124 CW, 2010 U.S. Dist. LEXIS 68874, at *2-3, 2010 WL 2465456 (N.D.

 Cal. June 14, 2010).

       In addition, "a failure to comply with many of the special pleading provisions

 in Rule 9 need not be remedied by a dismissal of the action or a striking of the

 pleading, but can be corrected through a motion for a more definite statement or the

 use of the discovery procedures." 5 CHARLES A. WRIGHT & ARTHUR R.

 MILLER, FEDERAL PRACTICE AND PROCEDURE § 1291, at 564 (2d ed.

 1990). Accordingly, Plaintiff respectfully requests permission for leave to amend,

 should this Court be inclined to find for the State on any of its requests for judgment

 on the pleadings.

    III.   ARGUMENT

       Defendants motion should be denied for the simple fact that they are already

 in violation of FRCP 12(c). FRCP 12(c) very plainly states that such a motion


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 should be brought “early enough not to delay trial.” Here, the State Defendants are

 way past the dispositive motions cut off and standing upon the eve of trial. If

 Defendants wished to file the subject motion, they should have done so previously,

 prior to the June 26, 2018 deadline and more than one month prior to trial.

 Notably, by the time this Court hears this motion, it will be one week prior to trial

 commencement on April 15.

       A. Given the nature and timing of Defendant’s Motion, Plaintiff should
          be granted Leave to Amend her Complaint and to Continue the Trial
          Date

    Simply put, if Defendants are allowed to have their dispositive motion heard,

 which is being brought so very late in the day, then accordingly Plaintiff should be

 allowed leave to amend their complaint and to continue the current trial date.

    A motion for judgment on the pleadings is very clearly a dispositive motion.

 The cut-off date for filing dispositive motions came and went on June 26, 2018,

 per the Fourth Amended Rule 16 Scheduling Order [ECF 66]. It is plain as day that

 the only reason that the subject motion is being brought is because Defendants

 have nothing else to do.

       B. Plaintiff Should be Granted Leave to Amend their Complaint.

       With respect to the State Defendants, Plaintiff acknowledges the following:

           Defendants named in their official capacities are not persons
           subject to suit under § 1983. See Will v. Michigan Dep't of State
           Police, 491 U.S. 58, 70, 109 S. Ct. 2304, 105 L. Ed. 2d 45
           (1989); Flint v. Dennison, 488 F.3d 816, 824-25 (9th Cir. 2007).
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          Further, "[t]he Eleventh Amendment bars suits against a state or its
          agencies, regardless of the relief sought, unless the state
          unequivocally consents to a waiver of its immunity." Wilbur v.
          Locke, 423 F.3d 1101, 1111 (9th Cir. 2005) (quoting Yakama
          Indian Nation v. Wash. Dep't of Revenue, 176 F.3d 1241, 1245 (9th
          Cir. 1999)), abrogated on other grounds by Levin v. Commerce
          Energy, Inc., 560 U.S. 413, 130 S. Ct. 2323, 176 L. Ed. 2d 1131
          (2010). The only exception is "for prospective declaratory and
          injunctive relief against state officers, sued in their official
          capacities, to enjoin an alleged ongoing violation of federal
          law." Id. (quoting Agua Caliente Band of Cahuilla Indians v.
          Hardin, 223 F.3d 1041, 1045 (9th Cir. 2000)); see Ex parte Young,
          209 U.S. 123, 28 S. Ct. 441, 52 L. Ed. 714 (1908).

 See Hatcher v. Harrington, No. 14-00554 JMS/KSC, 2015 U.S. Dist. LEXIS 13799,

 at *6-7 (D. Haw. Feb. 5, 2015). However, with respect to waiver, Plaintiff contends

 that acceptance of federal funding under the PREA statute constitutes a waiver of

 the State’s Eleventh Amendment Immunity.

          As Defendants state in their motion, “A state may waive its immunity only

 if it does so unequivocally, or Congress can exercise its power under the Fourteenth

 Amendment to override that immunity, the state, its agencies, and its officials acting

 in their official capacity are immune from suit under the Eleventh Amendment. Will

 v. Michigan Dep’t State Police, 491 U.S. 58, 66 (1989).” MJOP at 5.

          The Prison Rape Elimination Act (PREA) was a call to action, not just by

 the federal government but for all state-run facilities. Keeping female prisoners

 safe from sexual abuse and harassment from correctional staff drove the need for

 PREA. Specifically, Congress found that the prevalence of sexual abuse “involves


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 actual and potential violations of the United States Constitution,” and thus concluded

 that national standards were necessary to prevent, detect, and respond to such abuse.

 See 42 U.S.C. §15601(13).

           Under PREA, it is clear that state correctional facilities such as MCCC,

 operated by Defendants are subject to both the Constitution and the PREA standards,

 specifically to protect prisoners from harm, including sexual abuse. Defendants

 should be concerned given the fact that, a finding of noncompliance with the PREA

 standards puts a state at risk for loss of certain federal funds.

           As alleged in Plaintiff’s Complaint, Plaintiff was placed at an

 unconstitutional risk of harm due to Defendants’ failure to keep her safe from MCCC

 employees. Thus, with a mix of federal and state claims, this court retains subject

 matter jurisdiction, and the State Defendants should not be dismissed from this

 lawsuit. In accepting federal funds under PREA the State has effectively waived its

 immunity.

          1. Inherent in Plaintiff’s Complaint is A Claim for a 1st Amendment
             Violation, which withstands Defendant’s Argument for Judgment
             on the Pleadings
       As Defendants surmise, in reading paragraphs 48 and 51, Plaintiff is alleging

 a First Amendment violation claim – as it relates to retaliation. Under such a First

 Amendment Claim:

              In the prison context, allegations of retaliation against a
              prisoner's First Amendment rights to speech or to petition
              the government may support a section 1983 claim. Rizzo
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             v. Dawson, 778 F.2d 527, 532 (9th Cir. 1985); see
             also Valandingham v. Bojorquez, 866 F.2d 1135 (9th Cir.
             1989); Pratt v. Rowland, 65 F.3d 802, 807 (9th Cir.
             1995). "[A] viable claim of First Amendment retaliation
             entails five basic elements: (1) An assertion that a state
             actor took some adverse action against an inmate (2)
             because of (3) that prisoner's protected conduct, and that
             such action (4) chilled the inmate's exercise of
             his First Amendment rights, and (5) the action did not
             reasonably advance a legitimate correctional
             goal." Rhodes v. Robinson, 408 F.3d 559, 567-68 (9th
             Cir. 2005).

 Saenz v. Spearman, No. 1:09-cv-00557-YNP PC, 2009 U.S. Dist. LEXIS 97681,

 at *14-15 (E.D. Cal. Sep. 30, 2009). Here Plaintiff has made sufficient allegations

 in her complaint to assert such a claim. See State’s Exhibit A, Paragraphs 31

 through 37 & 51.

          2. Inherent in Plaintiff’s Original Complaint is A Claim for an 8th
             Amendment Violation, which withstands Defendant’s Argument
             for Judgment on the Pleadings

       Incumbent in Plaintiff’s USC §1983 claim is a violation of Plaintiff’s 8th

 Amendment Right – the right to be free of cruel and unusual punishment:

             The Eighth Amendment prohibits the imposition of cruel
             and unusual punishments and "embodies 'broad and
             idealistic concepts of dignity, civilized standards,
             humanity and decency.'" Estelle v. Gamble, 429 U.S. 97,
             102, 97 S. Ct. 285, 50 L. Ed. 2d 251
             (1976) (quoting Jackson v. Bishop, 404 F.2d 571, 579
             (8th Cir. 1968)). A prison official violates
             the Eighth Amendment only when two requirements are
             met: (1) the objective requirement that the deprivation is
             "sufficiently serious", Farmer v. Brennan, 511 U.S. 825,
             834, 114 S. Ct. 1970, 128 L. Ed. 2d 811

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              (1994)(quoting Wilson v. Seiter, 501 U.S. 294, 298, 111
              S. Ct. 2321, 115 L. Ed. 2d 271 (1991), and (2) the
              subjective requirement that the prison official has a
              "sufficiently culpable state of
              mind", Id. (quoting Wilson, 501 U.S. at 298). The
              objective requirement that the deprivation be
              "sufficiently serious" is met where the prison official's
              act or omission results in the denial of "the minimal
              civilized measure of life's
              necessities". Id. (quoting Rhodes v. Chapman, 452 U.S.
              337, 347, 101 S. Ct. 2392, 69 L. Ed. 2d 59 (1981)). The
              subjective requirement that the prison official has a
              "sufficiently culpable state of mind" is met where
              the prison official acts with "deliberate indifference" to
              inmate health or safety. Id. (quoting Wilson, 501 U.S. at
              302-303). A prison official acts with deliberate
              indifference when he/she "knows of and disregards an
              excessive risk to inmate health or safety". Id. at
              837. "[T]he official must both be aware of facts from
              which the inference could be drawn that a substantial risk
              of serious harm exists, and he must also draw the
              inference." Id.

 See Saenz v. Spearman, No. 1:09-cv-00557-YNP PC, 2009 U.S. Dist. LEXIS

 97681, at *12-13 (E.D. Cal. Sep. 30, 2009). A prison official's "deliberate

 indifference" to a substantial risk of serious harm to an inmate violates the Eighth

 Amendment. See Farmer v. Brennan, 511 US 825, 828 (1994).

       Furthermore, prison officials like Espinda and Hirano cannot hide behind

 qualified immunity if deliberate indifference is shown. “Prison officials,

 particularly those in administrative positions, my be held ‘liable for deliberate

 indifference when they knowingly fail to respond to an inmate’s requests for help.”

 Manago v. Williams at 80.
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              "A supervisor may be liable for an Eighth Amendment
              violation if he or she was made aware of the problem and
              failed to act or if he or she promulgated or enforced a
              policy under which unconstitutional practices occurred."
              Valley v. Director of Prisons, 2008 U.S. Dist. LEXIS
              11136, 2008 WL 436954, *5 (E.D. Cal. 2008), citing Jett,
              439 F.3d at 1098; and Black v. Coughlin, 76 F.3d 72, 74
              (2d Cir. 1996).

       A correctional officer, particularly one with supervisory authority, who is

 informed of an alleged constitutional violation (e.g. pursuant to reviewing an

 inmate’s appeal) may be responsible for remedying such violation. Manago at 80-

 81, citing Jett at 1098.

       Here, Plaintiff’s Complaint specifically alleges that Plaintiff reported the

 incident, anonymously at first, but this clearly should have triggered an immediate

 investigation into Defendants Siugpiyemal’s conduct. See State’s Exhibit A at 3.

 Per the allegations of the Complaint that this Court must accept as true:

                     Christina contacted her attorney’s office, and they
              reported the incident to the State Department of Public
              Safety. Instead of properly investigating the allegations
              of rape, the State of Hawaii informed Defendant
              Siugpiyemal of Christina’s claims. And Defendant
              Siugpiyemal made good on his threat to have
              her furlough revoked.

       Plaintiff’s Complaint goes on to allege the following:

                     A few days after reports of the rape, Defendant
              Siugpiyemal had another ACO accuse Christina of a
              positive urinalysis, fifteen minutes after she just toOk a
              urinalysis which was negative. Christina’s furlough was
              revoked, and she was taken back into custody. No one
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              would listen to Christina’s protest that she was not doing
              drugs, and the urine sample was not preserved in
              accordance with generally accepted substance abuse
              monitoring practices.

              Defendant State of Hawaii and its employees were
              entrusted with the knowledge that the matter was being
              presented to the Grand Jury for indictment and somehow
              Defendant Siugpiyemal was warned. He is believed to have
              fled the Islands, and is still a fugitive.

       See State’s Exhibit A at pg. 4. See also paragraphs 31 through 37 & 51.

       A prison official is entitled to qualified immunity unless the facts, when

 viewed in the light most favorable to the plaintiff, would permit a reasonable juror

 to find that: (1) the defendant violated a constitutional right; and (2) the right was

 clearly established. See Bishop, 636 F.3d at 765. The constitutional right to be

 free from deliberate indifference to assault and sexual abuse has been clearly

 established. Id. See also Brokaw v. Mercer County, 235 F.3d 1000,1022 (7th Cir.

 2000)(holding that certain acts are so clearly a violation of a constitutional right

 that binding precedent is not necessary to establish the right).

       In the instant case Hirano, as the supervising authority of MCCC, should

 have launched an investigation into Plaintiff’s allegations as soon as he was

 informed. See State’s Exhibit A, Paragraphs 31 through 37 & 51.

       Furthermore, Hirano as a MCCC policy maker, was in a position to design

 polices that would have prevented Riley’s assault. Yet, despite this opportunity,

 Hirano failed to institute polices that would have been effective. The right to be

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 free from deliberate indifference to sexual abuse has been clearly established as

 Constitutional right; Hirano violated that right through his actions. Therefore,

 Hirano is not entitled qualified immunity from Riley’s 42 U.S.C.§ 1983 claim.

         i.    Defendant Hirano’s Personal Liability Under 42 U.S.C. Section 1983
               – Supervisor Liability

         Under Supervisor Liability, Defendant Hirano will be held liable where: (1)

 he was personally involved in the constitutional deprivation, or (2) there is a

 sufficient causal connection between the supervisor’s wrongful conduct and the

 constitutional violation. See Starr v. Baca, 652 F.3d 1202, 1207 (Cir. 2012).

 Acquiescence or culpable indifference may suffice to show that a supervisor

 "personally played a role in the alleged constitutional violations." Starr 652 F. 3d at

 1208.

         The law clearly allows actions against supervisors under section 1983 as

 long as a sufficient causal connection is present and the plaintiff was deprived

 under color of law of a federally secured right. Starr, 652 F. 3d at 1207. The

 requisite causal connection can be established by setting in motion a series of acts

 by others, or by knowingly refusing to terminate a series of acts by others, which

 the supervisor knew or reasonably should have known would cause others to inflict

 a constitutional injury. Id. at 1207; Wood v. Beauclair, 692 F. 3d 1041, 1051(9th

 Cir. 2012). Again, Plaintiff’s Complaint makes such allegations that survive a



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 motion for judgment on the pleadings. See State’s Exhibit A, Paragraphs 31

 through 37 & 51.

       In the instant matter Hirano failed to follow proper protocol which requires

 immediate investigation of PREA violations. Hirano also failed to establish or

 enforce polices that would have adequately protected Riley from Siugpiyemal.

 Hirano therefore demonstrated culpable indifference to the risks to inmates such as

 Riley. These failures directly resulted in Riley’s sexual assault. Hirano is therefore

 personally liable for supervisor liability under 42 U.S.C. § 1983.

       ii.    Plaintiff’s State Tort Claims - Defendants Espinda and Hirano’s
              Liability Under Respondeat Superior

       The Department of Public Safety is liable under respondeat superior for the

 torts of its employees. See Tokuhama v. City and County of Honolulu, 751 F.

 Supp. 1385, 1394 (D. Haw.1989); Orso v. City and County of Honolulu, 56 Haw.

 241, 248, 534 P. 2d 489, 494 (Haw. 1975); Lane v. Yamamoto, 2 Haw. App. 176,

 178, 628 P. 2d 634, 636 (Haw. Ct. App. 1981). To recover under a respondeat

 superior theory, a plaintiff must establish: (1) a negligent act of the employee, in

 other words, a breach of a duty that is the legal cause of plaintiff's injury; and (2)

 that the negligent act was within the employee's scope of employment. See Doe

 Parents No. 1 v. State, Dept. of Educ., 100 Haw. 34, 67, 58 P. 3d 545, 578 (Haw.

 2002).

       The Restatement (Second) of Agency § 228 provides:
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              (1) Conduct of a servant is within the scope of
              employment if, but only if:
              (a) it is of the kind he is employed to perform;
              (b) it occurs substantially within the authorized time and
              space limits;
              and
              (c) it is actuated, at least in part, by a purpose to serve the
              master.…
              (2) Conduct of a servant is not within the scope of
              employment if it is different in kind from that authorized,
              far beyond the authorized time or space limits, or too
              little actuated by a purpose to serve the master.

 Restat. 2d of Agency, § 228 (2nd 1958) (cited in Wong-Leong v. Hawaiian

 Independent Refinery, Inc., 879 P. 2d 538 - Haw: Supreme Court 1994).

    As explained, infra, the DPS is liable for the torts of its employees under the

 doctrine of respondeat superior. In particular, DPS is liable for the sexual assaults

 committed by its prison guards under a respondeat superior theory. See Spurlock v.

 Townes, 368 P. 3d 1213, 1217 (NM 2016) (holding government liable for off- duty

 prison guard’s sexual assault of female inmates); Cox v. Evansville Police Dept.,

 107 NE 3d 453, 461 (Ind. 2018).

            a. Not Even Qualified Privilege Can Abscond Defendants Espinda or
                Hirano
       Hawaii courts have established that non-judicial governmental officials,

 when acting in the performance of their public duty enjoy the protection of what

 has been termed a qualified or conditional privilege. See Towse v. State, 64 Haw.

 624, 630, 647 P. 2d 696, 702 (Haw. 1982). To prevail on a tort claim against a non-


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 judicial government official, the injured party must demonstrate by clear and

 convincing proof that the official was stirred by malice and not by an otherwise

 proper purpose. Towse, 64 Haw. at 631-32, 647 P.2d 696 at 702; Black v. City &

 Cnty. of Honolulu, 112 F. Supp. 2d 1041, 1048-49 (D. Haw. 2000); Runnels v.

 Okamoto, 56 Haw 1, 3, 525 P.2d 1125, 1128 (Haw. 1974).

       The phrase "malicious or improper purpose" should be defined in its

 ordinary and usual sense. Awakuni v. Awana, 165 P. 3d 1027, 1042 (Haw 2007).

 Black's Law Dictionary defines "malicious" as "substantially certain to cause

 injury" and "without just cause or excuse." Id. Malice" is defined as "the intent,

 without justification or excuse, to commit a wrongful act," "reckless disregard of

 the law or of a person's legal rights," and "ill will; wickedness of heart." Id.

       As laid out in Plaintiff’s Complaint, Hirano and Espinda are each personally

 liable for the state torts that were committed while in the course of employment

 with the State with malice. And Defendant DPS will be held liable under

 respondeat superior.

    IV.    CONCLUSION

       For the reasons stated above and in good faith, Plaintiffs respectfully request

 that this Court deny Defendants Motion for Judgment on the Pleadings. Or in the

 alternative, that Plaintiffs be given leave to amend their Complaint to clarify and

 cure any deficiencies and to continue the current trial date.


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       DATED: Honolulu, Hawai`i, March 27, 2019                             .

                                           /s/ Clarisse M. Kobashigawa
                                           MYLES S. BREINER
                                           TERRANCE M. REVERE
                                           CLARISSE M. KOBASHIGAWA
                                           Attorneys for Plaintiff




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